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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                          RICHMOND DIVISION




      UNITED STATES OF AMERICA,

                          Plaintiff,
                   v.                             Case No.
                                                  3:10-cr-00308-JRS-1
      ISRAEL CRUZ MILLAN,

                          Defendant.




           Before:      THE HONORABLE DENNIS W. DOHNAL, JUDGE

                                  GUILTY PLEA




                              November 15, 2011



                             Richmond, Virginia




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                     Stenographic Court Reporters
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             Reported by: Tracy J. Stroh, RPR, CCR, CLR


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 1    Appearances:

 2                   UNITED STATES ATTORNEY'S OFFICE
                     By: MICHAEL R. GILL, ESQ.
 3                        ANGELA MASTANDREA-MILLER, ESQ.
                                   and
 4                   DEPARTMENT OF JUSTICE
                     By: ADDISON THOMPSON, JR., ESQ.
 5                   Assistant United States Attorneys and
                     Trial Attorney, respectively, of
 6                   counsel for Plaintiff

 7

 8                   SRIS LAW GROUP, PC
                     By: ATCHUTHAN "SRIS" SRISKANDARAJAH, ESQ.
 9                        ROBERT COMBS, ESQ.
                                   and
10                   OFFICE OF THE FEDERAL PUBLIC DEFENDER
                     By: FREDERICK T. HEBLICH, JR., ESQ.
11                   attorneys, of counsel for Defendant

12

13    Also present:

14                   Johnnie Benningfield, interpreter

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 1                   (The hearing in this matter commenced at

 2                   9:20 a.m.)

 3

 4                   THE COURT:      Good morning, everyone.

 5                   MS. MASTANDREA-MILLER:          Good morning.

 6                   THE COURT:      Ms. Garner, please call the

 7    matter.

 8                   THE CLERK:      Criminal matter 3:10-cr-308,

 9    United States of America versus Israel Cruz Millan.

10                   If the defense would stand and identify

11    themselves, followed by the U.S. Attorney's Office for

12    the Court, please.

13                   MR. SRISKANDARAJAH:         Good morning, Your

14    Honor.     May it please the Court.         Atchuthan

15    Sriskandarajah, here on behalf of Mr. Millan.

16                   THE COURT:      Welcome, sir.

17                   MR. SRISKANDARAJAH:         Thank you, sir.

18                   MR. HEBLICH:       Your Honor, I'm Fred

19    Heblich.     I'm an assistant federal public defender

20    from Charlottesville.         You may recall that many years

21    ago --

22                   THE COURT:      Yes, I do.      Good to see you

23    again.     It's been a while.

24                   MR. HEBLICH:       -- we had a case.

25                   MR. COMBS:      Good morning, Your Honor.


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 1    Robert Combs.      I represent Mr. Cruz Millan as well.

 2                   THE COURT:      Thank you, Mr. Combs.

 3                   The Court understands the matter is before

 4    it for an anticipated plea of guilty to Counts One,

 5    Nine and Ten, I believe, that involve this defendant.

 6    And as I assume everyone is aware, I'm -- I have

 7    volunteered to substitute for Judge Hudson, who is

 8    preparing for the trial of the remaining defendant.

 9                   I understand that the plea will not be

10    pursuant to a written plea agreement but is based upon

11    an agreed upon statement of facts.             Assuming all is

12    correct, if counsel would approach the podium with the

13    defendant.     One of you is sufficient, or however many.

14    That's fine.

15                   Sir, as a preliminary matter and even

16    though I know you've discussed the matter with your

17    attorneys, I must advise you directly of your right to

18    have this proceeding conducted by a district court

19    judge, in this case Judge Hudson, for purposes of the

20    proceeding, as opposed to myself, a United States

21    magistrate judge.

22                   I understand that you intend to offer a

23    plea of guilty to those counts of the indictment in

24    which you are involved.         In order for a Court to

25    accept a plea of guilty to any charge or charges,


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 1    certain findings must first be made.             First, that the

 2    plea is freely and voluntarily entered with a full

 3    awareness of possible consequences, and secondly, that

 4    there's a basis in fact to accept that plea or those

 5    pleas of guilty; that is, if the matter proceeded to

 6    trial, as is your right, that the Government could

 7    prove the charge or charges.           Now, as I've indicated,

 8    you have the right to have those findings made by a

 9    district judge or you may waive that right for

10    purposes of entering those pleas.

11                   I have in my hand a written waiver form to

12    that effect.      Do I understand correctly that having

13    discussed the matter with your attorney, having had

14    the form translated for you in its entirety, that you

15    have signed this form consenting to allow me to

16    entertain your pleas of guilty?            Is that correct?

17                   THE DEFENDANT:       Yes, that is.

18                   THE COURT:      Very well.

19                   Now, sir, I have several questions to ask

20    of you, the purpose of which is to be able to make

21    those findings that I have just discussed with you.

22                   First, however, I will ask that you affirm

23    to, of course, tell the truth in response to the

24    questions I am about to ask, and obviously, if it is

25    determined that you're not being truthful, that could


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 1    cause additional problems.          Understood?

 2                   THE DEFENDANT:       Understood.

 3                   THE COURT:      Thank you.

 4                   THE CLERK:      Would you raise your right

 5    hand, sir?

 6                   (The defendant was sworn.)

 7                   THE COURT:      Very well.

 8                   You may confer with your attorney at any

 9    time during the hearing.

10                   You may put your hand down.

11                   If you wish to do so, just turn toward him

12    or ask me for that opportunity.            I will also tell you

13    at the beginning of the hearing that you may decide to

14    change your mind as we go along up until the final

15    point when I may accept any plea or pleas of guilty

16    that you may offer.        For example, you may decide to

17    stop answering the questions somewhere along that line

18    up until that final point.          If you decide to do so,

19    you will not be penalized in any way.              We will simply

20    stop and reset the matter for trial.

21                   You may also decide to withdraw any plea

22    or pleas of guilty that you may have entered up until

23    the final moment when I may accept them, and I will

24    give you a final opportunity to reconsider the whole

25    situation.


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 1                   The reason I tell you these things at the

 2    beginning of the hearing is that I want to emphasize

 3    to you how difficult it is for you to change your mind

 4    later.    An attempt to withdraw a plea or pleas of

 5    guilty once they have been accepted by the Court, the

 6    law states that a plea of guilty may only be withdrawn

 7    for what is called "fair and just reason."               That is a

 8    very high, very difficult standard to meet.               That is

 9    why I ask all these questions.           Do you understand?

10                   THE DEFENDANT:       Yes, I understand.

11                   THE COURT:      Now for the questions that I

12    have, first of all, are you the person named in the

13    formal charge; that is, Israel Cruz Millan?

14                   THE DEFENDANT:       Yes, sir.

15                   THE COURT:      Have you drunk any alcohol or

16    taken any drugs, including prescription medication,

17    within the past 24 hours?

18                   THE DEFENDANT:       No, sir.

19                   THE COURT:      Are you under the influence of

20    any substance of any kind at this time?

21                   THE DEFENDANT:       No, sir.

22                   THE COURT:      Have you ever been treated for

23    any mental or emotional disorder or addiction of any

24    kind?

25                   THE DEFENDANT:       No, sir.


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 1                   THE COURT:      How old are you, sir?

 2                   THE DEFENDANT:       Twenty-six years old.

 3                   THE COURT:      How far did you go in school?

 4                   THE DEFENDANT:       Through high school.

 5                   THE COURT:      Have you received a copy of

 6    the indictment and read it to yourself or had it

 7    translated for you and discussed it with your

 8    attorney?

 9                   THE DEFENDANT:       Yes, sir.

10                   THE COURT:      Will the Government please

11    state on the record the charges involving this

12    defendant, including potential penalty?

13                   MR. GILL:      Your Honor, the defendant is

14    pleading guilty to Counts One, Nine and Ten of the

15    indictment.      Count One charges him with RICO

16    conspiracy.      The maximum penalties for that offense

17    are 20 years imprisonment, a 250,000-dollar fine, 3

18    years supervised release, and a 100-dollar mandatory

19    special assessment.

20                   Count Nine charges him with conspiracy to

21    possess, produce and transfer false identification

22    documents, in violation of 18 U.S.C. 1028(f).                The

23    maximum penalties for that offense are 15 years

24    imprisonment, a 250,000-dollar fine, 3 years

25    supervised release, and a 100-dollar mandatory special


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 1    assessment.

 2                   Finally, Count Ten charges the defendant

 3    with money laundering conspiracy, in violation of

 4    18 U.S.C. 1956(h).        The maximum penalties for that

 5    offense, 20 years imprisonment, a 500,000-dollar fine,

 6    or twice the amount of money involved in the

 7    transactions, 3 years supervised release, and a

 8    100-dollar mandatory special assessment.

 9                   THE COURT:      Are there any possible

10    immigration consequences, Mr. Gill?

11                   MR. GILL:      There are, indeed, Your Honor.

12    The defendant is subject to deportation by Homeland

13    Security Investigations at the conclusion of this

14    case.

15                   THE COURT:      Would he be eligible for

16    reentry under any circumstances?

17                   MR. GILL:      Never again, Your Honor.

18                   THE COURT:      Very well.

19                   Sir, do you understand what the three

20    charges are, potential criminal penalties upon

21    conviction, and immigration consequences?

22                   THE DEFENDANT:       Yes, I do understand it,

23    sir.

24                   THE COURT:      Very well.

25                   Do you feel you've had a sufficient


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  1   opportunity to discuss these charges and sentencing

  2   possibilities with your attorneys?

  3                   THE DEFENDANT:       Yes, sir.

  4                   THE COURT:      Have you discussed with them

  5   how any sentence will be determined; that is, that the

  6   sentencing judge will be guided by the advisory

  7   Sentencing Guidelines that are in effect?

  8                   THE DEFENDANT:       Yes, sir.

  9                   THE COURT:      And do you understand that by

10    pleading guilty to those charges, if I accept those

11    pleas of guilty, you are also consenting to allow him

12    to make any sentencing determination on his own; that

13    is, without the involvement of a jury and based on a

14    standard of proof of preponderance of the evidence,

15    which is a lower standard of proof, and that of beyond

16    a reasonable doubt as would have applied at trial.

17    Understood?

18                    THE DEFENDANT:       Yes, sir.

19                    THE COURT:      Are you entirely satisfied

20    with the services that your attorneys have provided

21    you in that have they answered all your questions and

22    otherwise given you enough information for you to make

23    up your own mind as to what to do?

24                    THE DEFENDANT:       Completely satisfied, sir.

25                    THE COURT:      Very well.     Thank you.


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  1                   Of course, no one can force or compel you

  2   to plead guilty to any charge.            Has anyone forced or

  3   compelled you in any way?

  4                   THE DEFENDANT:       No, sir.

  5                   THE COURT:      Has anyone promised you

  6   anything in order for you to plead guilty?

  7                   THE DEFENDANT:       No, sir.

  8                   THE COURT:      And, of course, you must

  9   understand, as I'm sure you do, but just to make sure,

10    that you have the absolute right to maintain a plea of

11    not guilty to whatever charge or charges may be

12    pursued against you and require that the matter

13    proceed to the trial stage to determine your guilt or

14    innocence of that charge or those charges.

15                    The reason for that is that the burden is

16    on the Government, not you, to prove your guilt beyond

17    a reasonable doubt before you can be found guilty of

18    any offense, but if you plead guilty to these charges

19    and if I accept those pleas of guilty, you must

20    understand that there will not be any trial to

21    determine your guilt or innocence.              Rather, the only

22    remaining issue will be what sentence is to be imposed

23    on each count, and that decision will be made by

24    another judge on a future date.

25                    Because there will not be a trial if your


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  1   anticipated pleas of guilty are accepted, you are also

  2   waiving or giving up various rights that you would

  3   have had at the trial stage.           I will not mention all

  4   of those rights, but let me mention several by way of

  5   example.     Make sure that you understand what you are

  6   waiving or giving up by pleading guilty.

  7                   For example, you have the right at trial,

  8   through your attorney, to challenge whatever evidence

  9   or argument is offered by the Government to try to

10    prove your guilt such as through the cross-examination

11    of witnesses called to testify against you.                At trial,

12    you have the right to have a trial court compel the

13    production of relevant evidence on your behalf, the

14    appearance of witnesses, the production of

15    documentation, if any.

16                    At trial, you would have the right to

17    present your own relevant evidence in your own

18    defense, including, if you so chose, your own

19    testimony or not.        You have the absolute right to

20    remain silent without the burden of having to produce

21    any evidence at all if you so decided.

22                    And finally, by way of example only, you

23    would have the right at trial to have your guilt or

24    your innocence determined by a jury, a panel of 12

25    individuals, all of whom would have to agree that the


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  1   Government had met its burden of proof beyond a

  2   reasonable doubt as to every essential element of

  3   whatever charge they were considering before you could

  4   be found guilty of that offense.             But by pleading

  5   guilty to these charges, if I accept those pleas of

  6   guilty, you are waiving those and other rights that

  7   you would have had at trial.           Do you understand?

  8                   THE DEFENDANT:       Yes, sir, I understand,

  9   sir.

10                    THE COURT:      All right, sir.

11                    Are you intending to plead guilty to these

12    charges because you are, in fact, guilty of what they

13    say you did in each of Counts One, Nine and Ten?

14                    THE DEFENDANT:       Yes, sir.

15                    THE COURT:      Very well.

16                    Now, sir, I'm confident that you have

17    discussed with your attorneys, based upon their

18    knowledge, expertise and experience, what they may

19    think to be an appropriate result in your case, a

20    sentencing range under those advisory Guidelines or a

21    particular sentence on each count or perhaps removal

22    or deportation from this country sooner rather than

23    later.     All that is fine.       That's part of their job in

24    representing you, but do you understand whatever they

25    may have told you in that regard is a prediction only


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  1   of what's going to happen?           It is not a guarantee.

  2   Understood?

  3                   THE DEFENDANT:       Understood, sir.

  4                   THE COURT:      Very well.

  5                   Counsel, are you satisfied that it is in

  6   the defendant's best interest to plead guilty to these

  7   charges rather than to proceed to trial?

  8                   MR. SRISKANDARAJAH:        I am, Your Honor.

  9                   THE COURT:      Are you satisfied that he

10    fully understands each of the three charges pending

11    against him?

12                    MR. SRISKANDARAJAH:        Yes, Your Honor.

13                    THE COURT:      Are you satisfied that he has

14    been competent and fully able to cooperate with you

15    and your colleagues throughout the course of your

16    representation of him?

17                    MR. SRISKANDARAJAH:        Yes, sir.

18                    THE COURT:      Are you satisfied that there

19    are no meritorious defenses that can be raised on his

20    behalf in regard to any of those allegations, or if

21    there are, that it is still in his best interest to

22    plead guilty to the charges rather than to proceed to

23    trial?

24                    MR. SRISKANDARAJAH:        That's correct, sir.

25                    THE COURT:      Are you satisfied that all of


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  1   his rights have been preserved throughout this

  2   proceeding?

  3                   MR. SRISKANDARAJAH:        Yes, sir.

  4                   THE COURT:      Do you know of any reason why

  5   the Court should not now accept his anticipated pleas

  6   of guilty to those three counts?

  7                   MR. SRISKANDARAJAH:        No, sir.

  8                   THE COURT:      Ms. Garner, would you please

  9   rearraign the defendant on Counts One, Nine and Ten of

10    the indictment?

11                    THE CLERK:      Does the defendant waive

12    formal reading of the indictment?

13                    THE COURT:      Counsel, you may respond to

14    that.

15                    MR. SRISKANDARAJAH:        Yes, Your Honor.

16                    THE CLERK:      Do you, sir, understand the

17    charges contained in the indictment?

18                    THE DEFENDANT:       Yes, ma'am.

19                    THE CLERK:      I ask you now, sir, what is

20    your plea, guilty or not guilty, as to Counts One,

21    Nine and Ten of the indictment?

22                    THE DEFENDANT:       I plead guilty.

23                    THE COURT:      Very well.

24                    Sir, I also have a copy of the written

25    statement of facts.         I assume the original is there


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  1   before you on the lecturn.

  2                   Do I understand correctly that having had

  3   the document translated for you in its entirety,

  4   having discussed its contents with your attorneys,

  5   that you have signed the document confirming that you

  6   agree with the truth of the matters set forth therein?

  7                   THE DEFENDANT:       Yes, sir.

  8                   THE COURT:      Mr. Gill, does the Government

  9   have any additional evidence in support of the pleas

10    entered?

11                    MR. GILL:     No, Your Honor.

12                    THE COURT:      Counsel, do you have any

13    additions or corrections to the written statement of

14    facts?

15                    MR. SRISKANDARAJAH:        No, Your Honor.

16                    THE COURT:      Sir, is this what happened in

17    very, very general terms; that during the relevant

18    time period, mainly from at least January 2010 through

19    November of the same year, you knowingly participated

20    in this conspiracy, this so-called false document

21    enterprise.      Your role was essentially that of an

22    overall manager, at least within the United States,

23    and in that capacity, you supervised activities of

24    subordinates in each of several cities.               And among

25    other activities, you were in known possession of


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  1   false documentation that was generated and

  2   participated in the so-called laundering of monetary

  3   proceeds by utilizing Western Union transfers and

  4   such, during which time you knew that such activity

  5   was illegal?

  6                   In very general terms, is that what

  7   happened?

  8                   THE DEFENDANT:       Yes, sir.

  9                   THE COURT:      Sir, I'm satisfied from your

10    answers to my various questions that the plea you

11    entered to each of those three counts was knowingly

12    and voluntarily entered, with a full awareness of

13    possible consequences, including immigration

14    consequences, and I'm satisfied from the statement of

15    facts that you have confirmed contains true

16    information that the Government could prove each of

17    those three charges if the matter had proceeded to

18    trial.

19                    But as I told you I would at the beginning

20    of this hearing, I give you this final opportunity to

21    change your mind.        If you wish to withdraw any or all

22    of those pleas that you entered for whatever reason,

23    no further questions will be asked.

24                    Do you wish to withdraw those pleas of

25    guilty or do you wish to maintain or keep them?


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  1                   THE DEFENDANT:       No, sir.     I am guilty.

  2                   THE COURT:      Very well.

  3                   It is, therefore, the finding of the Court

  4   that the defendant is fully competent and capable of

  5   entering an informed plea, that the defendant is aware

  6   of the nature of the charges as set forth in Counts

  7   One, Nine and Ten of the pending indictment and the

  8   consequences of his pleas of guilty to those charges,

  9   including immigration consequences, and that the pleas

10    of guilty are knowing and voluntary pleas, supported

11    by an independent basis in fact within each of the

12    essential elements of each offense charged.

13                    The pleas are, therefore, accepted, and

14    the defendant is now adjudged guilty of each of those

15    offenses in those stated counts.             And I order that the

16    statements of facts that has been verified by the

17    defendant, which contains true information, be filed

18    in the record.

19                    I will also enter the Sentencing Guideline

20    Order, sir, and I want to emphasize to you for your

21    own benefit the importance of your full and truthful

22    cooperation in providing whatever information is

23    requested by the probation office in preparing the

24    presentence report so that the sentencing judge has

25    all the true, relevant information that he needs in


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  1   order to decide on an appropriate sentence on each

  2   count.     You'll be provided with a copy of such

  3   information at least 35 days in advance of the

  4   sentencing date that I note has already been scheduled

  5   for February 16th of next year.            If you would

  6   carefully with counsel, as I know they will with you,

  7   make any additions or corrections necessary so that --

  8   to ensure the sentencing judge has all the true

  9   information and relevant information that he needs.

10                    And finally, I will also enter a report

11    and recommendation recommending to His Honor that he

12    adopt the findings I have made, including the

13    acceptance of your pleas of guilty.

14                    If you have any objection to anything

15    occurring during this hearing, it must be noted in

16    writing and filed with the clerk of court within 14

17    days of today, and, of course, your attorneys will

18    assist you in that regard, if necessary.

19                    Do you have any questions about anything

20    we have discussed?

21                    THE DEFENDANT:       No, sir.     I would just

22    like to say to you thank you very much, may God bless

23    you and may he bless all of those that are present.

24                    THE COURT:      Thank you, sir.

25                    Counsel, do you have anything further?


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  1                   MR. SRISKANDARAJAH:         Nothing further, Your

  2   Honor.

  3                   THE COURT:      Mr. Gill?

  4                   MR. GILL:     No, Your Honor.       Thank you.

  5                   THE COURT:      The Court remands the

  6   defendant to the continued custody of the United

  7   States Marshals pending further proceedings.

  8                   Court will stand in recess.           Thank you.

  9

10                    (The hearing in this matter concluded at

11                    9:39 a.m.)

12

13                         REPORTER'S CERTIFICATE

14                 I do hereby certify that the foregoing is a

15    true and accurate transcription of my stenographic

16    notes taken in this matter to the best of my ability.

17

18                       /s/ Tracy J. Stroh 7/6/12
                      Tracy J. Stroh, RPR, CCR, CLR
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